UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

NORFOLK COUNTY RETIREMENT SYSTEM,
individually and on behalf of all others similarly

situated Civil Action No. 11-cv-0433
Plaintiff Class Action
VS. Judge Waverly D. Crenshaw, Jr.

Magistrate Judge Joe B. Brown
COMMUNITY HEALTH SYSTEMS, INC.,

WAYNE T. SMITH and W. LARRY CASH JURY TRIAL DEMANDED

Defendants
RESPONSE AND OBJECTIONS TO LEAD PLAINTIFF’S NOTICE
OF RULE 45 SUBPOENA FOR NON-PARTY EDWARD M. YARBROUGH

This response and objections to lead Plaintiff's Notice of Rule 45 Subpoena for Non-
Party Edward M. Yarbrough, dated July 17, 2018, are served by Edward M. Yarbrough, pursuant
to Rule 45(d)(2)(B) of the Rules of Civil Procedure. The response is made in good faith upon
inquiries made within the timeframe provided. Mr. Yarbrough reserves the right to alter,
supplement, amend or otherwise modify this response in any manner, at any time, in light of
additional facts revealed through subsequent inquiry or otherwise brought to his attention.

The subpoena mentioned above makes one request which is as follows:

Request No. 1:

Notes taken by you or your Employee during the interview of Carolyn Lipp by the

U.S. Department of Justice (or other Governmental Agency) related to the

investigation of business practices at CHSI, as discussed by Ms. Lipp at her

deposition taken on August 25, 2016 in In re Community Health Systems, Inc.
Shareholder Derivative Litigation, No. 3:11=0489 (M.D. Tenn.), at pp. 86-89.

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In direct response to this request I can state to the Court that no such notes were taken at
the interview of Carolyn Lipp by Government attorneys because at the time of that interview
there was concern that collateral civil litigation might ultimately lead to the discovery of such
notes and as a tactical matter it was not believed to be in Ms. Lipp’s best interest that such notes
be taken. Therefore, the specific request contained in the subpoena must be denied because the
first portion, notes taken by Edward M. Yarbrough, do not exist. As to the second part of the
request aimed at production of notes taken by an employee, a thorough search of the file in this
case does not reveal the existence of any such notes taken by co-counsel, Erin Palmer Polly, at
the meeting with the Department of Justice. However, the file does contain handwritten notes by
Ms. Polly taken on March 22, 2012, at a meeting with Carolyn Lipp and her attorneys, including
several attorneys for CHS with whom we had a joint defense agreement at the time. Therefore,
these notes would be covered by the attorney/client privilege as well as the attorney work
product privilege and not discoverable unless ordered by the Court after an appropriate hearing.

As a practical matter, Mr. Yarbrough cannot attend the date mentioned in the subpoena
because he is scheduled to be lead counsel for a three-day hearing in the Superior Court of the
State of California for the County of San Bernardino Probate Division, Case No. 1600025 on
Monday, July 30 through Thursday, August 2, 2018.

In summary, the notes which were specifically requested apparently never existed or no
longer exist. The other notes which were found in the file, and which were not specifically
requested by the subpoena, appear to be privileged material and not producible unless the Court
finds that the privileges have been waived or that production is required in order to promote

overall justice in this matter.

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Respectfully submitted,

/s/ Edward M. Yarbrough

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CERTIFICATE OF SERVICE

I hereby certify that on this 27" day of July 2018, a copy of the foregoing response was
served via e-mail and U.S. Mail, postage prepaid, upon the following:

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/s/ Edward M. Yarbrough

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